Case 2:05-cr-20080-.]DB Document 43 Filed 06/13/05 Page 1 of 2 Page|D 50

IN THE UNITED sTATEs DISTRICT cotm'r Ftl.ED sr \B£)U-.. D.C»
FoR THE wEsTERN DIsTRIcT oF TENNESSEE
wEsTERN DIvIsION 95 JU;-l 13 PH 51 33

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in ’r: ' \` F‘-l.“v"'! .\\

UNITED STATES OF AMERICA, \.I,!_LJ. C`,z F|~i.

Plaintiff,
CR. NO. 05-20080-Ma

VS.

FRED KRATT,
DALE SHANE JOHNSON,

~_./~_/V-_/~_r\-._.¢-._¢~_/-_/-_/

Defendants.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., With a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from May 31, 2005 through August l2, 2005 is
excludable under 18 U.S.C. § 3161(h}(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day Of June, 2005.

SAMUEL H. MAYS, JR.
U'NITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

